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                                                                             )         Case No.       90 -CMS
                                                                                                  MJ-25-
     A BLACK APPLE IPHONE CELLPHONE. IMEI                                   )
    UNKNOWN, LOCATED IN SECURE EVIOENCE                                     )
        STORAGE AT HSI, OKTAHOMA CITY                                       )

                                              APPLIC/{TION FOII A SEARCH WAIIRANT
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  See Attachment A.

located in   the ._ Westem                           District of                 Oklahoma              . there is norv concealed (idotih the
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  See Attachment B.

          The basis for the search under Fed. R. Crim. P. 4l (c) is klpcli onc or ,,nN):
                 devidence of a crime:
                 dcontraband, fruils of crime. or otlrer ilems illegally possessedl
                 d propeny designed for use, intended for use. or used in committing a crime;
                 D a person to be arrcsted or a person rvho is unlawfirll;' reslrained.
          The search is related to a violation ol:

           Code Section                                                              OlJinsc Dcscription
       21 U.S.C. S 841(axl )                          Possession with lntent to Distribute and to Diskibute Conkolled Substances
       21 U.S.C. S 846                                Drug Conspiracy


          The application is based on these facts:

        See attached Affdavit, which is incorporated by reference herein.

           d Continued on the anached sheer.
           D Delayed notice of       days (give exact ending datc il'more lhan 30 dal's:                                           ; is rcqucsted
                under l8 U.S.C. S i 103a. the basis of which is set forth on thc atlached sheet.


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                                                                                            Michael    eagan, Special Agent. HSI
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Sworn lo before me and signed in nry presence-


Dare      February 5, 2025
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Cit) and statc: Oklahoma City, Oklahoma                                             Chris M. Stephens, United States Magistrate Judge
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

 IN THE MATTER OF THE SEARCH OF A
 BLACK APPLE IPHONE CELLPHONE,                          Case No. ____________________
 IMEI UNKNOWN, LOCATED IN SECURE
 EVIDENCE STORAGE AT HSI,
 OKLAHOMA CITY

                AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Michael Feagan, Special Agent of Homeland Security Investigations (HSI), being

duly sworn, depose and state as follows:

       1.     I make this Affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—an

electronic device identified below and in Attachment A, which is currently in law enforcement

possession—and the extraction from that property of electronically stored information

described in Attachment B, which constitute evidence, instrumentalities, and fruits of

violations of 21 U.S.C. § 841(a)(1) and 846.

       2.     As a Special Agent of HSI, I am an investigative or law enforcement officer

within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is

empowered by law to conduct investigations of and to make arrests for offenses enumerated in

18 U.S.C. § 2516. I am authorized to conduct criminal investigations of violations of the laws

of the United States and to execute warrants issued under the authority of the United States.

       3.      I have been employed as a Special Agent with HSI since February 2022.

Prior to my position as a Special Agent for HSI, I served as a Special Agent for the United

States Secret Service (USSS), beginning in July 2017. I have previously attended and
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graduated from the Criminal Investigation Training Program at the Federal Law

Enforcement Training Center in Glynco, GA; the USSS Special Agent Training Program

in Beltsville, MD; and the HSI Special Agent Training in Glynco, GA. I am currently

assigned to the Office of the Assistant Special Agent in Charge, Oklahoma City,

Oklahoma. As part of my daily duties as an HSI Special Agent, I investigate criminal

violations of federal law, including violations of violations of 21 U.S.C. §§ 841(a)(1) and

846.

       4.     I am submitting this Affidavit in support of a search warrant authorizing a

search of a black Apple iPhone cellular telephone, IMEI unknown, seized from Racheal

JOSEPH (hereinafter, SUBJECT PHONE), as further described in Attachment A, which

is incorporated into this Affidavit by reference. HSI Oklahoma City has custody of the

SUBJECT PHONE in Oklahoma City, Oklahoma. I am submitting this Affidavit in

support of a search warrant, which would authorize the forensic examination of the

SUBJECT PHONE for the purpose of identifying electronically stored data that is

particularly described in Attachment B, which constitute instrumentalities, evidence, and

fruits of violations of 21 U.S.C. §§ 841(a)(1) and 846. The requested warrant would also

authorize the seizure of the items and information specified in Attachment B.

       5.     Based on my training, experience, and the facts set forth in this Affidavit,

there is probable cause to believe that violations of 21 U.S.C. §§ 841(a)(1) and 846 have

been committed by James HENNESY, Racheal JOSEPH, and others. There is also

probable cause to search the property described in Attachment A for instrumentalities,
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evidence, and fruits of these crimes, as described in Attachment B.

       6.     Since this Affidavit is being submitted for the limited purpose of securing a

search warrant, I have not included each and every fact known to me regarding this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to support a search warrant. The information contained herein is based on

my personal knowledge and observation, my training and experience, conversations with

other law enforcement officers and witnesses, and review of documents and records.

                                  PROBABLE CAUSE

       7.     On January 13, 2025, District 21 Drug and Violent Crime Task Force (D21)

Interdiction Agent Bryce White conducted a traffic stop on a white Lexus sedan, bearing

Oklahoma license plate QBL908, for exceeding the posted speed limit. The traffic stop

occurred on Interstate 35 Northbound near mile marker 66 in Garvin County, Oklahoma,

which is located within the Western District of Oklahoma. In the course of the traffic stop,

Agent White identified the driver as HENNESY and the front seat passenger as JOSEPH.

       8.     During the traffic stop, Agent White noted an odor of marijuana from the

interior of the vehicle. Both HENNESY and JOSEPH provided conflicting itineraries and

displayed overly nervous behavior.

       9.     Upon a request from District 21 Agents, HENNESY provided consent to

search the vehicle. Prior to the search, HENNESY volunteered that there was a lot of

cocaine in the vehicle. District 21 Agents subsequently located a cardboard box in the front

passenger floorboard next to where JOSEPH was previously seated.
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      10.    The cardboard box contained five (5) packages, which were wrapped in

multiple layers of plastic and tape. The packages contained a white powdery substance

believed to be cocaine and showed presumptive positive for cocaine during a field test.

Later, the five bundles were weighed at approximately 5.81 kilograms and tested positive

for Cocaine HCL using a TruNarc Handheld Narcotics Analyzer. Additionally, two small

containers of marijuana were found in JOSEPH’s purse.

      11.    HENNESY and JOSEPH were transported to the Garvin County Sheriff’s

Office for processing.

      12.    I attempted to interview both HENNESY and JOSEPH at the Garvin County

Sheriff’s Office. HENNESY invoked his right to an attorney and the interview was

concluded. JOSEPH admitted to knowledge of the drugs and stated that it was her first time

traveling with HENNESY to acquire drugs. JOSEPH provided verbal consent to allow me

to view access to her phone. While browsing in her phone, I recognized that there was a

contact in WhatsApp named, “Palomo.” I also viewed her recent calls and saw that she had

made an outgoing call at 7:59 AM to “Palomo.”

      13.    After learning that JOSEPH made a phone call to “Palomo” at 7:59 AM,

District 21 Agent David Stephenson reviewed the in-car camera footage from within his

vehicle. JOSEPH had been seated in Agent Stephenson’s vehicle at 7:59 AM, while he and

District 21 Agent Cook searched the white Lexus sedan after HENNESY provided consent.

Agent Stephenson found that JOSEPH called someone at 7:59 AM and spoke to them.

JOSEPH called the person on the phone, “Palomo.” Agent Stephenson was unable to hear
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the entire conversation, but he could hear her tell “Palomo” that they were stopped by the

police, and that the police had “his” phone, referring to HENNESY. JOSEPH told

“Palomo” that she would share her location with him while they were on the traffic stop.

Based on my training and experience, as well as the circumstances of the phone call, I

believe that JOSEPH was calling another co-conspirator to provide updates as to the

shipment and notice that they had been stopped by police. I further believe that JOSEPH

provided notice that HENNESY’s phone had been seized by police as a warning to their

co-conspirator, suggesting that HENNESY has used his phone in conjunction with the drug

trafficking activities.

       14.     The SUBJECT PHONE was found on JOSEPH. Pursuant to her arrest,

District 21 Agents seized the SUBJECT PHONE. Later that morning, after I attempted to

interview HENNESY and JOSEPH, I took custody of the SUBJECT PHONE and

transported it to the HSI Oklahoma City office. I logged the SUBJECT PHONE in as

evidence and secured it inside the locked evidence vault.

       15.     Based upon my training and experience, I am aware that individuals involved

in trafficking illegal drugs often use cell phones to maintain contact with other co-

conspirators, including suppliers, transporters, distributors, and purchasers of illegal

narcotics.   Such cell phones and their associated memory cards commonly contain

electronically stored information which constitutes evidence, fruits, and instrumentalities

of drug trafficking offenses including, but not limited to, the phone directory and/or

contacts list, calendar, text messages, e-mail messages, call logs, photographs, and videos.
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       16.    Based on my training and experience, I know that individuals involved in

trafficking illegal drugs often take and store photographs of controlled substances and the

proceeds of drug sales, and usually take and store these photographs using their cell phones.

       17.    Based on my training and experience, I know that electronic devices like the

SUBJECT PHONE can store information for long periods of time. Similarly, things that

have been viewed via the Internet are typically stored for some period of time on the

electronic device. This information can sometimes be recovered with forensic tools. This

is true even if the user of the electronic device deleted the file. This is so because when a

person “deletes” a file on a computer or electronic device, the data contained in the file

does not actually disappear; rather, the data remains on the storage medium until it is

overwritten by new data.

       18.    Based on the above information, there is probable cause to believe that

violations of 21 U.S.C. §§ 841(a)(1) and 846 have occurred, and that evidence, fruits, and

instrumentalities of these offenses are located on the SUBJECT PHONE. Therefore, I

respectfully request that this Court issue a search warrant for the SUBJECT PHONE,

described in Attachment A, authorizing the seizure of the items described in Attachment

B.

       19.    Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I

am applying for would permit the examination of the SUBJECT PHONE consistent with

the warrant. The examination may require law enforcement to employ techniques,

including but not limited to computer-assisted scans of the entire medium, which might
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expose many parts of the SUBJECT PHONE to human inspection in order to determine

whether it is evidence described by the warrant.

       20.     Because the warrant seeks only permission to examine devices already in law

enforcement’s possession, the execution of this warrant does not involve the physical

intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court

to authorize execution of the warrant at any time in the day or night.

       21.     Based on my training and experience, I am aware that individuals involved

in drug trafficking often use cell phones to maintain contact with other co-conspirators,

including suppliers, transporters, distributors, and purchasers of illegal narcotics. Such cell

phones and their associated memory cards commonly contain electronically stored

information which constitutes evidence, fruits, and instrumentalities of drug trafficking

offenses including, but not limited to, the phone directory and/or contacts list, calendar,

text messages, e-mail messages, call logs, photographs, videos, and GPS location

information.




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                                   ATTACHMENT A
                                   Item to be searched

      The property to be searched is described as: a black Apple iPhone cellular

telephone, IMEI unknown, seized from Racheal JOSEPH (SUBJECT PHONE). The

SUBJECT PHONE is currently located in secure evidence storage at HSI in Oklahoma

City, Oklahoma. This warrant authorizes the forensic examination of the SUBJECT

PHONE for the purpose of identifying the electronically stored information described in

Attachment B. Photos of the SUBJECT PHONE are below:




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                                ATTACHMENT B
                          LIST OF ITEMS TO BE SEIZED

      The following materials, which constitute evidence of the commission of a criminal

offense, contraband, the fruits of the crime, or property designed or intended for use, or

which is or has been used, as the means of committing a criminal offense, namely a

violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United States

Code, Section 846, including:

      1.     All records on the SUBJECT PHONE described in Attachment A that relate

to violations of 21 U.S.C. §§ 841(a)(1) and 846 involving James Jermaine HENNESY,

Rachel JOSEPH, and others, including:

             a.     lists of customers and related identifying information;

             b.     list of co-conspirators and related identifying information;

             c.     records of communications with customers or co-conspirators,

                    whether such communications be a telephone call, text message (e.g.,

                    SMS or MMS), instant message, audio message, video message, or

                    communication through an application stored on the phone;

             d.     records detailing the types, amounts, or prices of drugs trafficked, as

                    well as dates, places, and amounts of specific transactions;

             e.     any information related to the sources of drugs, including names,

                    addresses, phone numbers, or any other identifying information;

             f.     any audio recordings, pictures, video recordings, or still-captured

                    images on the SUBJECT PHONE related to the purchase, sale,
                                           10
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                     transportation, storage, or distribution of controlled substances or the

                     collection, transfer, or laundering of drug proceeds;

              g.     all bank records, checks, credit card bills, account information, and

                     other financial records;

              h.     all records, including internet usage history, related to drug

                     trafficking, including package tracking, electronic or internet mail

                     communications, and electronic payment receipts; and

              i.     any location data related to the acquisition, transportation, or

                     distribution of controlled substances.

       2.     Evidence of user attribution showing who used or owned the SUBJECT

PHONE described in Attachment A at the time the things described in this warrant were

created, edited, or deleted, including:

              a.     logs, phonebooks, saved usernames and passwords, documents, and

                     browsing history;

              b.     text messages, multimedia messages, email, email messages, chats,

                     instant messaging logs, and other correspondence;

              c.     photographs;

              d.     records of Internet Protocol addresses used; and

              e.     records of Internet activity, including firewall logs, caches, browser

                     history and cookies; “bookmarked” or “favorite” web pages, search

                     terms that the user entered into any Internet search enge, and records

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                    of user-typed web addresses.

       3.     Contextual information necessary to understand the evidence described in

this attachment.

       As used above, the terms “records” and “information” include all the foregoing

items of evidence in whatever form and by whatever means they may have been created or

stored, including any associated metadata.




                                             12
